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                          EXHIBIT C




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                            Harris County - County Civil Court at Law No. 3                           Diane Trautman
                                                                                                         County Clerk
                                                                                                        Harris County


                                       CAUSE NO. 1129306

NICHOLAS D. BROOKS                                 §            IN THE COUNTY CIVIL COURT
                                                   §
                                                   §
v.                                                 §            AT LAW NO. 3
                                                   §
MUTUAL OF OMAHA INSURANCE                          §
COMPANY                                            §            HARRIS COUNTY, TEXAS

         DEFENDANT’S ORIGINAL ANSWER AND AFFIRMATIVE DEFENSES

TO THE HONORABLE JUDGE OF SAID COURT:

        Mutual of Omaha Insurance Company (“Mutual of Omaha” or “Defendant”) files this

Original Answer and Affirmative Defenses to Plaintiff’s Original Petition and respectfully shows

the Court as follows:

                                  I.      GENERAL DENIAL

        Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies

each and every allegation in Plaintiff’s Original Petition.

                    II.     DEFENDANT’S AFFIRMATIVE DEFENSES

        Subject to the foregoing, Defendant pleads, in addition thereto, the following defenses

and affirmative defenses.

        1.     Defendant affirmatively pleads that Plaintiff has failed to state a claim upon

which relief may be granted.

        2.     Defendant affirmatively pleads that Plaintiff cannot establish a prima facie case.

        3.     All conditions precedent necessary to the Plaintiff’s recovery have not been

performed or have not occurred.

        4.     Plaintiff has failed, in whole or in part, to reasonably mitigate his alleged

damages, if any.




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        5.         Plaintiff’s claims are barred, in whole or in part, by the doctrine of estoppel.

        6.         Plaintiff’s claims are barred, in whole or in part, by the doctrine of waiver

        7.         Plaintiff’s claims are barred, in whole or in part, by the doctrine of accord and

satisfaction.

        8.         Plaintiff’s claims are barred, in whole or in part, by the doctrine of payment.

        9.         Plaintiff’s claims are barred, in whole or in part, by the doctrines of ratification,

acceptance, approval, and/or adoption.

        10.        Additionally, Defendant asserts that Plaintiff’s action is frivolous, unreasonable

and without foundation and, as such, Defendant is entitled to recover its attorneys’ fees.

        11.        Defendant reserves the right to amend its Answer and Affirmative Defenses as

may be applicable during the course of this litigation.

        12.        Defendant requests that Plaintiff take nothing by his claims and that Defendant be

awarded its attorneys’ fees and such other and further relief, at law or in equity, to which it is

justly entitled.

                                      III.     RULE 193.7 NOTICE

        Pursuant to Texas Rule of Civil Procedure 193.7, Defendant hereby notifies Plaintiff of

its intentions to use all documents exchanged and produced between the parties in discovery,

including but not limited to correspondence, discovery responses, and deposition exhibits, during

the trial of the case.

                                         IV.     CONCLUSION

        WHEREFORE, PREMISES CONSIDERED, Defendant Mutual of Omaha Insurance

Company respectfully prays that Plaintiff take nothing by his claims or any subsequently filed




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claims, that Defendant recover its costs and attorney’s fees, and for such other and further relief,

both general or special, at law or in equity, to which Defendant may show itself justly entitled.

                                      Respectfully submitted,

                                      WILSON, ELSER, MOSKOWITZ,
                                          EDELMAN & DICKER, LLP

                                      By:     /s/ Linda P. Wills
                                              Linda P. Wills
                                              State Bar No. 21661400
                                              Nathan Prihoda
                                              State Bar No. 24068070
                                              909 Fannin St., Suite 3300
                                              Houston, Texas 77010
                                              Telephone: (713) 353-2000
                                              Facsimile: (713) 785-7780

                                      ATTORNEYS FOR DEFENDANT
                                      UNITED OF OMAHA LIFE INSURANCE COMPANY




                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing instrument was delivered to
all parties and counsel of record in accordance with the Texas Rules of Civil Procedure on this
the 5th day of April, 2019.


Via CM/RRR:
Nicholas D. Brooks
1915 Vale Haven Drive
Spring, Texas 77373



                                              /s/ Linda P. Wills______________________
                                              Linda P. Wills




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